
The People of the State of New York, Respondent, 
againstIrving Cruz, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, Bronx County (Jeffrey Rosenblueth, J.), rendered September 28, 2017, convicting him, upon a plea of guilty, of possession of burglar's tools, and imposing sentence.




Per Curiam.
Judgment of conviction (Jeffrey Rosenblueth, J.), rendered September 28, 2017, affirmed.
Application by appellant's counsel to withdraw as counsel is granted (see Anders v California, 386 US 738 [1967]; People v Saunders, 52 AD2d 833 [1976]). We are satisfied with the sufficiency of the brief filed by defendant's assigned counsel pursuant to Anders, and, upon an independent review of the record, agree that there is no valid appealable issue that could be raised on appeal.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: November 19, 2018










